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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

KENDRA KENYON, an individual,
                                               Case No. 1:15-cv-00060-REB
               Plaintiff,                               (Lead case)
                                                        1:15-cv-00061-REB
vs.                                                     (Companion case)

C.L. “BUTCH” OTTER, Governor of Idaho, in      STIPULATION TO DISMISS
his individual capacity, et al.,               PURSUANT TO
                                               FED. R. CIV. P. 41 (a)(1)(A)(ii)
               Defendants.


SARAH E. SCOTT,

               Plaintiff,

vs.

C.L. “BUTCH” Governor of Idaho, in his
individual capacity, et al.,

               Defendants.



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       The Parties, through their respective counsel of record, and pursuant to Fed. R. Civ. P. 41

(a)(1)(A)(ii), hereby stipulate that this case has been settled and that satisfaction of the terms of

settlement have been completed and can now be dismissed with prejudice, with the parties bearing

their own fees and costs

 DATED this 28th day of February, 2018.            DATED this 28th day of February, 2018.


 THOMAS, WILLIAMS & PARK, LLP                      OFFICE OF THE ATTORNEY GENERAL
                                                   STATE OF IDAHO


 BY: /s/ William H. Thomas                         BY: /s/ Colleen D. Zahn
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                                 CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 28th day of February, 2018, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of
Electronic Filing to the following persons:

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                                              /s/ Colleen D. Zahn
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